                                     19‐51027 Goldberg v. Halbert
                                              7/7/2022
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Ryan         Martin      CCM
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Rob          Pfister     plaintiff, Michael Goldberg
Rochelle     Gumapac     Defendant Kenneth Halbert            White and Williams LLP
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